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  6   Attorneys for Defendants
      VANTAGE TRAVEL SERVICE, INC.
  7   and INSPERITY PEO SERVICES, L.P.
      (Erroneously Sued as INSPERITY, INC.)
  8
  9                       UNITED STATES DISTRICT COURT
10                      CENTRAL DISTRICT OF CALIFORNIA
11
12    LAUREN GOLDENBERG,                        Case No: _____________________
13                      Plaintiff,              [Removed from State Court,
                                                Case No. 21STCV05726]
14         v.
                                                DECLARATION OF DREW M.
15    VANTAGE TRAVEL SERVICE, INC.;             TATE IN SUPPORT OF
      INSPERITY, INC.; and DOES 1-100,          DEFENDANTS VANTAGE
16
                        Defendants.             TRAVEL SERVICE, INC. AND
17                                              INSPERITY PEO SERVICES,
                                                L.P.’S NOTICE OF REMOVAL OF
18                                              ACTION FROM STATE COURT
                                                TO FEDERAL COURT PURSUANT
19                                              TO 28 U.S.C. §§ 1332, 1441, AND
20                                              1446

21                                              Complaint Filed: February 16, 2021
                                                Trial Date: Not Set
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       DECLARATION OF DREW M. TATE ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
           STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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  1                        DECLARATION OF DREW M. TATE
  2           I, Drew M. Tate, hereby declare and state as follows:
  3           1.    I am an attorney at law duly licensed to practice before all courts in
  4   the State of California and I am an associate of the Los Angeles Office of Fisher &
  5   Phillips LLP, counsel of record for Defendants VANTAGE TRAVEL SERVICE,
  6   INC. and INSPERITY PEO SERVICES, L.P., erroneously sued as INSPERITY,
  7   INC. (collectively “Defendants”). I make this Declaration in support of
  8   Defendants’ Notice of Removal pursuant to 28 U.S.C. §§ 1332, 1441 and 1446.
  9   Based upon my personal knowledge, I assert the facts set forth herein and, if called
10    as a witness, I could and would competently testify thereto.
11            2.    Attached as Exhibit A to Defendants’ Notice of Removal filed
12    concurrently with this Declaration is a true and correct copy of Plaintiff LAUREN
13    GOLDENBERG’s (“Plaintiff”) Complaint filed in the Superior Court of
14    California, County of Los Angeles, in the matter entitled Lauren Goldenberg v.
15    Vantage Travel Services, Inc. et al., Case No. 21STCV05726, on February 16,
16    2021.
17            3.    Plaintiff’s Complaint was served upon VANTAGE TRAVEL
18    SERVICE, INC. on February 24, 2021. Attached as Exhibit B to Defendants’
19    Notice of Removal filed concurrently with this Declaration is a true and correct
20    copy of the Proof of Service of Summons upon VANTAGE TRAVEL SERVICE,
21    INC. filed in the Superior Court of California, County of Los Angeles, on March
22    4, 2021.
23            4.    Attached as Exhibit C to Defendants’ Notice of Removal filed
24    concurrently with this Declaration are true and correct copies of the Notices of
25    Change of Address or Other Contact Information filed in the Superior Court of
26    California, County of Los Angeles, on March 22, 2021.
27            5.    Plaintiff’s Complaint was served upon INSPERITY PEO SERVICES,
28    L.P. on February 25, 2021.
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       DECLARATION OF DREW M. TATE ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
           STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
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  1         6.     On information and belief, and as of the date of the filing of
  2   Defendants’ Notice of Removal, no other pleadings or other papers have been filed
  3   in the state court action.
  4         7.     Proofs of Service of the Notice to the Los Angeles County Superior
  5   Court Clerk of Removal to Federal Court in the United States District Court Central
  6   District of California and the Notice to the Adverse Party of Removal to Federal
  7   Court will be filed with this Court shortly after the Superior Court filing and service
  8   upon the adverse party are accomplished.
  9         I declare under penalty of perjury under the laws of these United States of
10    America and California that the foregoing is true and correct. Executed this 26th
11    day of March, 2021 in Los Angeles, California.
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13                                            /s/ Drew M. Tate
                                              Drew M. Tate
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       DECLARATION OF DREW M. TATE ISO DEFENDANTS’ NOTICE OF REMOVAL OF ACTION FROM
           STATE COURT TO FEDERAL COURT PURSUANT TO 28 U.S.C. §§ 1332, 1441, AND 1446
